Case 2:07-cr-20498-TGB-PJK ECF No. 123, PageID.799 Filed 01/23/18 Page 1 of 8




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

EARL PAYTON JR.,
                                                 Criminal Case No. 07-20498-1
             Movant,                             Civil Case No. 16-11759
v.
                                                 SENIOR U.S. DISTRICT JUDGE
UNITED STATES OF AMERICA,                        ARTHUR J. TARNOW

             Respondent.
                                     /

     ORDER DENYING MOVANT’S MOTION TO VACATE, SET ASIDE, OR CORRECT
                            SENTENCE [111]

       Movant Earl Payton filed a Motion to Vacate, Set Aside, or Correct

Sentence pursuant to 28 U.S.C § 2255 [111] on May 13, 2016. The Government

filed a Response [114] on June 24, 2016. Because Payton’s Motion is time-barred,

the Court DENIES the Motion to Vacate, Set Aside, or Correct Sentence [111].

                   FACTUAL AND PROCEDURAL BACKGROUND

       I.    Plea and Sentencing

       On January 25, 2008, Payton pleaded guilty to Conspiracy to Possess with

Intent to Distribute and to Distribute Controlled Substances in violation of 21

U.S.C. §§ 841(a)(1) and 846. Payton’s plea was entered pursuant to a Rule 11 Plea

Agreement.

       The Plea Agreement provided a sentencing guidelines range of 262 to 327

months, based on the application of the career offender provisions of the

                                   Page 1 of 8
Case 2:07-cr-20498-TGB-PJK ECF No. 123, PageID.800 Filed 01/23/18 Page 2 of 8




Sentencing Guidelines. [Dkt. #32 at 4]. The Plea Agreement listed three prior

burglary convictions and one prior controlled substance conviction. The Plea

Agreement further provided that “the court must impose a sentence of no less than

20 years because defendant has a prior felony drug conviction.” [Dkt. #32 at 17].

At the Sentencing Hearing on April 24, 2008, neither Payton, nor his counsel,

raised any objections to the PSR or sentencing guidelines range. The Court

sentenced Payton to 25 years of imprisonment.

      II.   Direct Appeal

      On May 7, 2008, Payton filed a Notice of Appeal [44]. Payton challenged

his conviction on the grounds that: the plea was unknowing; he was provided

ineffective assistance of counsel in entering the plea bargain; and his within

guidelines sentence was based on false information.

      On June 9, 2010, the Sixth Circuit affirmed Payton’s conviction. U.S. v.

Payton, 380 Fed. App’x 509, 510 (6th Cir. 2010). The Sixth Circuit summarized

the primary issue raised on appeal as follows:

            When Payton pled guilty, he and the government
            mistakenly assumed he had two prior felony drug
            convictions. Taking this premise as a given, the
            government promised, as part of Payton’s plea
            agreement, to file an information listing only one of
            Payton’s prior convictions rather than enhanc[ing] the
            mandatory minimum sentence to life imprisonment by
            listing the second conviction.



                                    Page 2 of 8
Case 2:07-cr-20498-TGB-PJK ECF No. 123, PageID.801 Filed 01/23/18 Page 3 of 8




             Payton, as it turns out, had just one prior felony drug
             conviction, meaning that he faced a mandatory minimum
             if convicted of 240 months, not life imprisonment. The
             apparent source of the misunderstanding was that
             Michigan authorities charged him with three additional
             drug-related felonies in 2005, but he eventually pled
             guilty to a misdemeanor.

             As to the instant offense, Payton claims he would not
             have pled guilty and would not have waived his Fifth and
             Sixth Amendment trial rights had he known the
             government never had the option of seeking a mandatory
             life sentence.

      Id. at 511.

      The Sixth Circuit rejected Payton’s argument. In holding that Payton failed

to satisfy the plain error standard, the Court explained that the district court “had

no obligation to probe whether Payton benefitted from each promise by the

government in the plea agreement, and it thus had no reason to probe his criminal

history.” Id. at 512. The Court further explained that Payton failed to demonstrate

that the plea “prejudicially affected his substantial rights,” particularly where he

“had little to gain by going to trial.” Id. (noting that “proceeding to trial likely

would have tacked several years onto the 240–month minimum and made it more

likely he would spend the rest of his life, or close to it, in the same place.”).

      Although the Sixth Circuit rejected Payton’s claim that his guilty plea was

unknowing, the Court declined to assess his ineffective assistance of counsel

argument. Id. at 513. The Court deemed Payton’s ineffective assistance of counsel


                                      Page 3 of 8
Case 2:07-cr-20498-TGB-PJK ECF No. 123, PageID.802 Filed 01/23/18 Page 4 of 8




claim premature, explaining that such claims are more appropriately raised for the

first time in a § 2255 motion. Id.

      Finally, the Sixth Circuit rejected Payton’s within-guidelines sentence

challenge because he waived his right to appeal under his Plea Agreement.

      III.   Post-Conviction Relief

      On February 8, 2011, Payton filed a Motion for Retroactive Application of

Sentencing Guidelines [95] pursuant to 18 U.S.C. § 3582. The Court denied the

Motion on April 27, 2011. [Dkt. #97]. On August 29, 2011, Payton filed a second

Motion for Retroactive Application of Sentencing Guidelines [98], which the Court

denied on September 23, 2011. [Dkt. #99]. On September 9, 2015, Payton filed a

third Motion for Retroactive Application of Sentencing Guidelines [106], which

the Court also denied on October 29, 2015. [Dkt. #109].

      Payton filed the instant Motion to Vacate Sentence [111] on May 13, 2016.

The Government filed a Response [114] on June 24, 2016.

      In his Motion [111], Payton raises three grounds for relief. First, he

maintains that he was denied effective assistance of counsel when his attorney

failed to object to a misdemeanor listed on his PSR. Second, Payton submits that

his guilty plea was unknowing because it was entered based on the mistaken

assumption that he had two prior felony drug convictions. Finally, Payton




                                     Page 4 of 8
Case 2:07-cr-20498-TGB-PJK ECF No. 123, PageID.803 Filed 01/23/18 Page 5 of 8




challenges his within guidelines sentence on the basis that he was told not to

appeal.1

                                      ANALYSIS

      To succeed on a motion to vacate, set aside, or correct sentence, a movant

must allege: “(1) an error of constitutional magnitude; (2) a sentence imposed

outside the statutory limits; or (3) an error of fact or law that was so fundamental

as to render the entire proceeding invalid.” Pough v. United States, 442 F.3d 959,

964 (6th Cir. 2006) (quoting Mallett v. United States, 334 F.3d 491, 496-97 (6th

Cir. 2003)).

      A petitioner seeking relief under 28 U.S.C. § 2255 is bound by a one-year

period of limitation. The limitations period begins from the latest of:

               (1) the date on which the judgment of conviction
               becomes final;

               (2) the date on which the impediment to making a motion
               created by governmental action in violation of the
               Constitution or laws of the United States is removed, if
               the movant was prevented from making a motion by such
               governmental action;

               (3) the date on which the right asserted was initially
               recognized by the Supreme Court, if that right has been
               newly recognized by the Supreme Court and made
               retroactively applicable to cases on collateral review; or

1
  Two of the grounds for relief asserted in the instant Motion were rejected by the
Sixth Circuit on direct appeal. See DuPont v. United States, 76 F.3d 108, 110 (6th
Cir. 1996) (noting that “[a] § 2255 motion may not be used to relitigate an issue
that was raised on appeal absent highly exceptional circumstances.”).
                                      Page 5 of 8
Case 2:07-cr-20498-TGB-PJK ECF No. 123, PageID.804 Filed 01/23/18 Page 6 of 8




             (4) the date on which the facts supporting the claim or
             claims presented could have been discovered through the
             exercise of due diligence.

      28 U.S.C. § 2255(f).

       I.     Payton’s Motion is untimely

      “For the purpose of starting the clock on § 2255’s one-year limitation period,

a judgment of conviction becomes final when the time expires for filing a petition

for certiorari contesting the appellate court’s affirmation of the conviction.” Clay v.

United States, 537 U.S. 522 (2003). A petition for certiorari must be filed within

90 days of the entry of judgment. Penry v. Texas, 515 U.S. 1304, 1305 (1995).

      Payton’s conviction became final on September 7, 2010. To comply with the

one-year period of limitations set forth in § 2255(f)(1), Payton should have filed

this Motion on or before September 7, 2011. Payton did not file this Motion until

May 13, 2016, nearly five years after his conviction became final. Accordingly, the

Motion is untimely.

       II.    Payton does not qualify for relief under Johnson v. United States

      Payton submits that his Motion is timely pursuant to § 2255(f)(3) because he

seeks relief under Johnson v. United States, 135 S. Ct. 2551 (2015), decided on

June 26, 2015. There are two problems with this argument.

      First, none of the three grounds for relief in Payton’s Motion implicate the

Supreme Court’s ruling in Johnson. Because the aforementioned issues are

                                     Page 6 of 8
Case 2:07-cr-20498-TGB-PJK ECF No. 123, PageID.805 Filed 01/23/18 Page 7 of 8




unrelated to Johnson, Payton could have raised them within one year of the Sixth

Circuit’s affirmation of his conviction.

      Second, assuming Payton had challenged his sentence under Johnson, the

Court would nevertheless find this argument without merit. In Johnson, the

Supreme Court held that “imposing an increased sentence under the residual clause

of the Armed Career Criminal Act violates due process” because the residual

clause is unconstitutionally vague. 135 S. Ct. at 2554. Payton was sentenced under

the career offender provisions of the Sentencing Guidelines, not under the Armed

Career Criminal Act. In Beckles v. United States, 137 S. Ct. 886, 892 (2017), the

Supreme Court held that the Sentencing Guidelines are not subject to a vagueness

challenge. Thus, under Beckles, had Payton raised a vagueness challenge to the

Sentencing Guidelines, Johnson would afford him no relief.

       III.   Payton is not entitled to equitable tolling

      Section 2255(f) is subject to equitable tolling. “A habeas petitioner is

entitled to equitable tolling only if two requirements are met[:] first, the petitioner

must establish ‘that he has been pursuing his rights diligently[;]’ [a]nd second, the

petitioner must show ‘that some extraordinary circumstance stood in his way and

prevented timely filing.’” Hall v. Warden, Lebanon Corr. Inst., 662 F.3d 745, 749

(6th Cir. 2011) (quoting Holland v. Florida, 560 U.S. 631, 649 (2011)).




                                     Page 7 of 8
Case 2:07-cr-20498-TGB-PJK ECF No. 123, PageID.806 Filed 01/23/18 Page 8 of 8




      Other than citing to Johnson, Payton has offered no reason for the nearly

five-year delay in filing this Motion. Even if the Court were to find that Payton has

been pursuing his rights diligently on the basis that he has filed several post-

conviction motions, he fails to show that an extraordinary circumstance prevented

him from filing the instant Motion. Payton’s “pro se status and lack of knowledge

of the law are not sufficient to constitute an extraordinary circumstance and to

excuse his late filing.” Keeling v. Warden, Lebanon Corr. Inst., 673 F.3d 452, 464

(6th Cir. 2012). Therefore, Payton is not entitled to equitable tolling.

                                    CONCLUSION

      The Court need not reach the merits of Payton’s Motion [111] because it is

time-barred.

      Accordingly,

      IT IS ORDERED that Payton’s Motion to Vacate, Set Aside, or Correct

Sentence [111] is DENIED. Movant is granted a certificate of appealability.




                                        s/Arthur J. Tarnow
                                        Arthur J. Tarnow
Dated: January 23, 2018                 Senior United States District Judge




                                     Page 8 of 8
